 Case 2:18-cv-03467-SJO-FFM  Document
                         UNITED STATES46DISTRICT
                                          Filed 06/06/18
                                                   COURTPage 1 of Priority
                                                                  1 Page ID #:443
                                                                                 Send
                             CENTRAL DISTRICT OF CALIFORNIA
                                                                                 Enter
                                                                                 Closed
                                   CIVIL MINUTES - GENERAL                       JS-5/JS-6          X
                                                                                 Scan Only



CASE NO.:      CV 18-3467 SJO-FFM                       DATE:June 6, 2018
TITLE:        Juan Pablo Chavez v. Bertelsmann SE & Co. KgaA, et al.

========================================================================
PRESENT: THE HONORABLE S. JAMES OTERO, UNITED STATES DISTRICT JUDGE

Victor Paul Cruz                                     Not Present
Courtroom Clerk                                      Court Reporter

COUNSEL PRESENT FOR PLAINTIFF(S):                    COUNSEL PRESENT FOR DEFENDANT(S):

Not Present                                          Not Present

========================================================================
PROCEEDINGS (in chambers): ORDER DISMISSING ACTION AS DUPLICATIVE

On January 18, 2018, Plaintiff, proceeding pro se, filed a complaint ("the Complaint") in the United
States District Court for the Eastern District of Virginia. (See Compl., ECF No. 1.) On April 24,
2018, the presiding judge on that matter ordered the action be transferred to the Central District
of California. (See Transfer Order, ECF No. 25.) The Central District of California received this
action (the "Virginia Action") on April 25, 2018. (See Notice of Transfer, ECF No. 27.)

A nearly identical complaint was filed in the United States District Court for the Southern District
of New York on January 16, 2018. See Juan Pablo Chavez v. Bertelsmann SE & Co. KGaA, et
al., CV 18-2000 SJO (FFM) (the "New York action"). This Court dismissed the New York action
as the complaint was a "word-for-word duplicate" of the complaint filed in Juan Pablo Chavez v.
Bertelsmann SE & Co. KGaA, et al., CV 18-375 SJO (FFM) (the "California Action"), on January
16, 2018 in the Central District of California.

As in the New York action, the Complaint in the Virginia Action is an almost identical copy of the
complaint filed in the California Action. The only difference is the name of the court in which it was
filed. The parties, the alleged facts, the legal claims, and the request for relief do not differ.
Pursuant to the Court's "discretion to dismiss a duplicative later-filed action," Bojorquez v.
Abercrombie & Fitch, Co., 193 F. Supp. 3d 1117, 1123 (C.D. Cal. 2016) (quoting Adams v.
California Dep't of Health Servs., 487 F.3d 684, 688 (9th Cir.2007), this action is hereby
DISMISSED.

For the foregoing reasons, the Court DISMISSES this action as duplicative.

IT IS SO ORDERED.




                                            Page 1 of    1
